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                    EXHIBIT J
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  MLK EXPRESS SERVICES, LLC, a Florida
  Limited Liability Company; AG PLUS
  EXPRESS, LLC, a Florida Limited Liability
  Company; AMAZON.COM, INC., a Foreign
  for Profit Corporation; AMAZON LOGISTICS,
  INC., a Foreign for Profit Corporation;
  AMAZON.COM SERVICES, INC., a Foreign
  for Profit Corporation; MANIHONG M.
  PHANOUVONG, Individually, and
  LILA V. PHANOUVONG, Individually,
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                Exhibit A
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